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FOR THE WE€\`J|'|.EE:_||_\IE§|SBI|R\|/C|)S`l;g; TENNESSEE5 JUL _-’ m |2, 23
UN|TED STATES OF AMER|CA CLE§<'/DUO§ ;Y-z,i§-M
Plaintiff
VS.
CR. NO. 05-20182-D
ANTHONY TURLEY
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a rep_ort date of Thursda)¢l August 25l 2005l at 9:00 a.m., in Courtroom 3l 9th Floor of
the Federa| Building, Memphis, TN.

The period from June 30, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this {,Q#` day Of Ju|y, 2005.

B N|CE B. D NALD
UN|TED STATES D|STR|CT JUDGE

   

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This notice confirms a copy of the document docketed as number 16 in
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Honorable Bernice Donald
US DISTRICT COURT

